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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

      ELECTRONIC DATA SYSTEMS,                      §
      CORPORATION                                   §
                                                    §
      v.                                            §          Case No. 2:08-CV-041
                                                    §
      ONLINE WIRELESS                               §
      INCORPORATED, ET AL.                          §

                          ORDER OF DISMISSAL WITH PREJUDICE

             CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal

      With Prejudice of all claims and counterclaims asserted between plaintiff, Electronic

      Data Systems Corp., and defendant, Cricket Communications, Inc., in this case, and the

      Court being of the opinion that said motion should be GRANTED, it is hereby

             ORDERED, ADJUDGED AND DECREED that all claims and counterclaims

      asserted in this suit between plaintiff, Electronic Data Systems Corp., and defendant,

      Cricket Communications, Inc., are hereby dismissed with prejudice, subject to the terms

      of that certain agreement entitled “SETTLEMENT, OPTION AND PATENT LICENSE

      AGREEMENT.”

             It is further ORDERED that all attorneys’ fees and costs are to be borne by the

      party that incurred them.
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            SIGNED this 6th day of August, 2009.



                                             __________________________________________
                                             T. JOHN WARD
                                             UNITED STATES DISTRICT JUDGE
